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                                                                                   FILED
                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division
                                                                            20n OCT 2b A 8= Il8
                                                                          CLERK US DISTRICT COURT
  MICROSOFT CORPORATION, a                                                 ALEXANDRIA. VIRGINIA
  Washington corporation,

                 Plaintiff,
                                                      Civil Action No: | i\~)        ^
          V.



  JOHN DOES 1-2, CONTROLLING A
  COMPUTER NETWORK AND THEREBY                        FILED UNDER SEAL PURSUANT TO
  INJURING PLAINTIFF AND ITS                          LOCAL RULE 5
  CUSTOMERS,


                 Defendants.




   BRIEF IN SUPPORT OF MICROSOFT'S MOTION FOR LEAVE TO EXCEED PAGE
                       LIMITS RE: MICROSOFT'S TRO APPLICATION

          Pursuant to Fed. R. Civ. P. 7 and Local Civil Rule 7(f)(3), Microsoft hereby moves for

 leave to exceed the page limits for its Brief In Support of Application for an Emergency Ex Parte

 Temporary Restraining Order and Order to Show Cause re: Preliminary Injunction.

          Contemporaneously with the filing of this Motion, Microsoft is filing an Application for

 an Emergency Ex Parte Temporary Restraining Order and Order to Show Cause re: Preliminary

 Injunction (the "TRO Application"). Microsoft's brief in support of the TRO Application is 40

 pages.


          Under Local Rule 7(f)(3), briefs are generally limited to 30 pages. Because of the

 complexity of the issue presented in this case, however, Microsoft cannot fully explain the

 factual and legal bases for its TRO Application within the 30-page limit. Accordingly, Microsoft


                                                 1            BRIEF IN SUPPORT OF MOTION FOR LEAVE TO
                                               " ^"                               EXCEED PAGE LIMITS
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respectfully requests that this Court grant leave to exceed the page limits imposed by Local Civil
Rule 7. Microsoft is filing this Motion for Leave to Exceed Page Limits contemporaneously

with the filing of their case-initiating documents and TRO Application because of the urgent

nature of these proceedings, the need for emergency relief, and the importance of maintaining

confidentiality regarding the relief Microsoft requests from the Court.

       The Court may, in its discretion, grant leave to a party to exceed the page limit set forth

in Local Civil Rule 7 and consider the party's brief in its entirety. See, e.g., Harrison v. Prince

William County Police Dep't, 640 F. Supp. 2d 688, 700 (E.D. Va. 2009) (enlarging page limit

given unusual procedural posture of the case). Here, because of the substantial public interest

involved, the nature of the relief requested, and the complexity of Defendants' unlawful conduct,

enlargement of the page limitation is critical to permitting Microsoft a full opportunity to

describe the extensive technical factual predicate for its TRO Application.

       Microsoft is submitting extensive evidence in support of its TRO Application that must

be set forth in detail in the supporting brief. In particular, Microsoft is submitting detailed

technical declarations and other evidence related to the following: (1) the tactics used by

Defendants for cybercriminal operations; (2) the complex methodology for infecting and

remotely interfering with the victim's computers; (3) the harmful effects of Defendants' behavior

on Microsoft, its customers, and the general public; and (4) the irreparable harm suffered by

Microsoft and its customers as a resuh of Defendants' actions. In order to fully explain the

significance of this evidence, Microsoft requires more than 30 pages of briefing.

       Accordingly, given the technical issues presented in this case and the ex parte nature of

the TRO Application, Microsoft respectfully requests relief from Local Civil Rule 7's page




                                                ^            BRIEF IN SUPPORT OFMOTION FOR LEAVE TO
                                              • ^ "                              EXCEED PAGE LIMITS
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limitation so that Microsoft can provide the Court with the information it needs to rule on the

merits of the TRO Application.

                                       CONCLUSION


        For the reasons stated, Microsoft requests leave to exceed the page limits set forth in

Local Civil Rule 7 and asks that the Court consider Microsoft's brief in support of its TRO

Application in its entirety.




                                                           BRIEF IN SUPPORT OF MOTION FOR LEAVE TO
                                                                                EXCEED PAGE LIMITS
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Dated: October 26,2017   Respectfully submitted,

                         ALSTON & BIRD LLP




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